        Case 4:14-cr-00084-BMM Document 80 Filed 12/06/18 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                         CR-14-84-GF-BMM-JTJ

                 Plaintiff,

       vs.
                                                           ORDER
JOHNNY LEE HAMILTON,

                 Defendant.

      United States Magistrate Judge John Johnston conducted a revocation

hearing in this matter on December 4, 2018. (Doc. 75.) The United States accused

Johnny Lee Hamilton of violating his conditions of supervised release by failing to

report to the United States Probation office within 72 hours of his release from

imprisonment. (Doc. 70 at 1-2.)

      Judge Johnston entered Findings and Recommendations in this matter on

December 5, 2018. (Doc. 78.) Hamilton waived his right to object to Judge

Johnston’s Findings and Recommendations. Id. at 3. When a party makes no

objections, the Court need not review de novo the proposed Findings and

Recommendations. Thomas v. Arn, 474 U.S. 140, 153-52 (1986). This Court will

review Judge Johnston’s Findings and Recommendations, however, for clear error.



                                         1
          Case 4:14-cr-00084-BMM Document 80 Filed 12/06/18 Page 2 of 2




McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981).

         The admitted violation proves serious and warrants revocation of Hamilton’s

supervised release. Judge Johnston has recommended that the Court revoke

Hamilton’s supervised release and commit Hamilton to the custody of the Bureau

of Prisons for a term of time served with no supervised release to follow. (Doc. 78

at 4.)

         The Court finds no clear error in Judge Johnston’s Findings and

Recommendations. Hamilton’s violation of his conditions represents a serious

breach of the Court’s trust. A sentence of time served with no supervised release to

follow represents a sufficient, but not greater than necessary sentence.

         IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 78) are ADOPTED IN FULL.

         IT IS FURTHER ORDERED that Defendant Johnny Lee Hamilton be

sentenced to time served with no supervised release to follow.

         DATED this 6th day of December, 2018.




                                           2
